Case 2:10-cv-09875-ODW-SS Document 1 Filed 12/22/10 Page 1 of 10 Page ID #:7
Case 2:10-cv-09875-ODW-SS Document 1 Filed 12/22/10 Page 2 of 10 Page ID #:8



  1        TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
  2 THE CENTRAL DISTRICT OF CALIFORNIA:
  3        PLEASE TAKE NOTICE THAT Defendant Capital One Bank (USA), NA,
  4 (erroneously sued as Capital One Services LLC) ("Capital One") hereby invokes this
  5 Court's jurisdiction under the provisions of28 U.S.C. § 1331 and 28 U.S.C. §
  6 1441 (b) and removes this action from state court to federal court pursuant to 28
  7 U.S.C. § 1446(b). In support thereof, Capital One asserts:
  8         1.    On November 12, 2010, Plaintiff Romina Movsisyan ("Plaintiff') filed a
  9 claim in the Superior Court of the State of California for the County of Los Angeles,
 10 North Central District, designated as Case Number 1OS02183 (the "Action").
 11        2.     Plaintiff s claim was sent via certified mail on November 16, 2010 to
 12 2730 Gateway Oaks Dr., Sacramento, CA 95833. Capital One first received the
 13 initial pleading on November 22, 2010 via its registered agent for service of process,
 14 Corporation Service Company, located in Sacramento, CA. Pursuant to 28 U.S.C. §
 15 1446(a), a true and correct copy of all process, pleadings and orders served upon
 16 Defendant in this case is attached hereto as Exhibit "A."
 17        3.     Plaintiff s sole allegation is that "Capital One reported late payment to
 18 plaintiff s account and furnished that false information to credit bureaus without
 19 notification of such negative data as required per FCRA § 623 (a)(7)(A); Capital One
 20 failed to verify or remove their reporting after dispute." It is well established that
 21 claims against a furnisher of information to credit reporting agencies fall within the
 22 purview of the Fair Credit Reporting Act, which is codified at 15 U.S.C. § 1681 et
 23 seq. "Congress enacted the [FCRA] in 1970 'to ensure fair and accurate credit
 24 reporting, promote efficiency in the banking system, and protect consumer privacy. '"
 25 Gorman v. Wolpoff & Abramson, LLP, 584 F.3d 1147, 1153 (9 th Cir. 2009).
 26        4.     The Action is one which may be removed to this Court by Defendant
 27 pursuant to 28 U.S.C. § 1331 and § 1441 (b)-(c), because this Court would have had
 28 original jurisdiction founded on Plaintiffs claims arising under the Fair Credit
                                                    1
                 NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1331 AND 28 U.S.c. § 1441(b)-(c)
                                          (FEDERAL QUESTION)
Case 2:10-cv-09875-ODW-SS Document 1 Filed 12/22/10 Page 3 of 10 Page ID #:9



  1 RepOliing Act, a law of the United States.
  2                       REMOVAL JURISDICTION AND VENUE
  3        5.    This Notice of Removal is "filed within thirty [30] days after receipt by
  4 the defendant . . . of a copy of [Plaintiffs' Summons and Complaint]" in accordance
  5 with the time period mandated by 28 U.S.C. § l446(b).

  6        6.    Venue lies in the United States District Court for the Central District of
  7 California pursuant to 28 U .S.C. §1441(a) because the Action was filed in this

  8 District.
  9
 10        WHEREFORE Defendant prays that the above action now pending against it
 11 in the Superior Court of the State of Californ ia, County of Los Angeles, North
 12 Central District, be removed therefrom to this COUli.

 13
 14 DATED: December 22,2010                          DOLL AMIR & ELEY LLP
 15

 16                                                  By:~          g. ~(£
                                                        Hunt R. Eley
 17                                                  Attorneys for Defendant
                                                     CAPITAL ONE BANK (USA), N .A .
 18

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                                                       2
                N OTICE OF REMOV A L OF A CT ION UN DER 28 U.S.c. § 133 1 AN D 28 u.s.c. § 144 1(b)-(c)
                                             (FEDERA L QUESTION)
Case 2:10-cv-09875-ODW-SS Document 1 Filed 12/22/10 Page 4 of 10 Page ID #:10




                            EXHIBIT A
                Case 2:10-cv-09875-ODW-SS Document 1 Filed 12/22/10 Page 5 of 10 Page ID #:11



                                                             Plaintiff's Claim and ORDER                                Clerk slamps dale here when form is filed .
                       SC-100                                to Go to Small Claims Court
                                                                                                                                         ~;lLED
               Notice to the person being sued:
                                                                                                                         S ANGELES 5IJPER.!Ol( CtJlJI{(
               • You are the Defendant if yo ur name is listed in @ on page 2 of this
                 form . The person suing you is the Plaintiff, listed in on page 2.        CD                                            NOV 1. 2 2010
               • You and the Plaintiff must go to court on the trial date listed below. If you
                                                                                                                                  l ~ . Yl!'~.
                                                                                                                               'l0ic       1:. CloERI<
                 do not go to court, you may lose the case.
                                                                                                                                          'fI.!~
               • If you lose, the court can order that your wages, money, or property be                                             \    C. LUN . DEPUP
                 taken to pay this claim .
               • Bring witnesses, receipts , and any evidence you need to prove your case.                            Fill in court name and slreel address '
                                                                                                                       Superior Court of California, County of
                   Read this form and all pages attached to understand the claim against
                   you and to protect your rights .
               Aviso al Demandado:                                                                                               SUp'.3i:cr GO'.I:·l - Ncrtli (;t\T\tl' ai
                                                                                                                                 800       l-= t· ~:t S:'C~G\I'f3y
               • Usted es el Demandado si su nombre figura en@de la pagina 2
                 de este formulario. La persona que 10 demanda es el Demandante, la que
                 figura enCDde la pagina 2.                                                                            Clerk fills   In   case number and case name :
                                                                                                                        Case Number:
               • Usted y el Demandante tienen que presentarse en la corte en la fecha del
                 juicio indicada a continuaci6n. Si no se presenta, puede perder el caso.                               Case Name-:'-
                                                                                                                                            1    0 S 0.2 1 8 3
               • Si pierde el caso la corte podria ordenar que Ie quiten de su sueldo, dinero u
                 otros bienes para pagar este reclamo.
                 L1eve testigos, recibos y cualquier otra prueba que necesite para probar su caso .
               • Lea este formulario y todas las paginas adjuntas para en tender la demanda en su contra y para proteger sus derechos.

                                                                                   Order to Go to Court
               The people in CD and                            ® must go to court: (Clerkjills alii section beluw.)
                                                                                                                     ~----------------------------,

                     Trial        -+ ~a~ c:"'            J   J T!n:~               Department   Name and address of court if different from above
                  _D_ate_            I.~                                J   >2Dfrn 5
                                     2. _________                                                            000 Ec./;! Broadway


                   Date:
                                   ~6\f 1 2 ZIlU1------.r1'
                                                        \IO.. .-rR"ffiN1 A: ClARKE
                                                                               i
                                                                         'Clerk, by
               Instructions for the person suing:
               • You are the Plaintiff. The person you are suing is the Defendant.
                   Be/ore you fill out this form , read Form SC-150, in/ormation/or the Plaintij/(.')ma/l Claim~). to know your rights.
                   Get SC-150 at any courthouse or county law library, or go to: www.courtin/o.ca.gov/jo rms
-.
j      vt
                   Fill out pages 2 and 3 of this form . Then make copies of all pages of this form . (Make I copy for each party named in
       ~           this case and an extra copy for yourself.) Take or mai l the original and these copies to the court clerk's office and pay
.:J~   co
       ~
                   the filing fee. The clerk will write the date of your trial in the box above.
U      W       • You must have someone at least 18-not you or anyone else listed in this C'\",';>-'-give each Defendant a court-stamped
l..    >
1:
)      8W        copy of all 5 pages of this form and any pages thi s form tell s you to attach . There are special rules for "serving," or
                 delivering, this form to public entities, associations, and some businesses. Se~ Forms SC-I 04, SC-I 04B,
-
I...

fJ
U
       ex:
       ~         and SC-I 04C.
       ::::>   • Go to court on your trial date listed above. Bring witnesses, receipts, and any evidence you need to prove your case.
S
JJ
       0
       ~
t:     41(
               Judicial Council of california , www.couf1tnfo .ca.gov
                                                                                    Plaintiffs Claim and ORDER                                                       SC-100, Page 1 of 5
               Revised January 1, 2008, Mandatory Form
               Codo of CiVil Procodure , §§ 116. 110 ot seq .,                      to Go to Small Claims Court                                                                           ~
               116 .220Ic).116 .340{g)                                                      (Small Claims)                                                           American LegalNet , Inc.
                                                                                                                                                                     www .FormsWorkflow.com
 Case 2:10-cv-09875-ODW-SS Document 1 Filed 12/22/10 Page 6 of 10 Page ID #:12




Plaintiff (list names): Romina Movsisyan

CD The Plaintiff (the person, business, or public entity that is suing) is:                                                         )
        Name: Romina Movsisyan                                                                                      Phone: (
       Street address: 529 Glenwood Rd. Apt. I                                             Glendale               CA             91202
                           Street                                                          CitY'                    State          Zip

        Mailing address (if difJerent): - : : c - - - - - - - - - - - - - - - = ; : - - - - - - - - - = : - - : - - - - - - - - : ; ; - : - - - - -
                                           Street                                          City                     State          Zip

        If more than one Plaintiff, list next Plaintiff here:
       Name:                                                                                                        Phone: (        )
                  -------------------------------
       Street address: -=--_________________---:::-::-_____----,=:-:_ _ _--;;-;-_ _ __
                          Street                                                           City                     State          Zip

        Mailing address (if difJerent):~-------------__::_::------_=_:----,--___::::_--_
                                          Street                                           City                     State          Zip
       D    Check here ifmore than 2 Plaintiffs and attach Form SC-IOOA.
       o Check here if either Plaintiff listed above is doing business under a fictitious name. If so, attach Form SC-l 03.
o      The Defendant (the person, business, or public entity being sued) is:
       Name: Capital One Services, LLC                                                                              Phone: ('--~_____
       Street address: 1680 Capital One Dr.                                               McLean                     VA            22102
                            Street                                                         City                     State          Zip
        Mailing address (if difJerent): 2730 Gateway Oaks Drive # 100                     Sacnlmento                CA             95833
                                           Street                                          Citv                     State          Zip


        If more than one Defendant, list next Defendant here:
       Name:                                                                                                        Phone: (       )

        Street address:
                          , Street                                                        City                     State           Zip
        Mailing address (if different):
                                           Street                                         City                     State           Zip

       D    Check here ifmore than 2 Defendants and attach Form SC-IOOA.
       D     Check here if any Defendant is on active military duty, and write his or her name here: _ _ _ _ _ _ _ __


o      The Plaintiff claims the Defendant owes $ 900                                               . (Explain below):
        a. Why does the Defendant owe the Plaintiff money? Capital One reported late payments to plaintiff's account
           and furnished that false information to credit bureaus without notification of such negative data as
           reqUIred per FCRA§623(a)( 7)(A); CapItal One faded to verIty or remove theIr reportmg after dIspute.

        b. When did this happen? (Date): _ _ _ _ _ _ __
             If no specific date, give the time period: Date started: June 21, 20 I 0__ Through: November II, 20 I 0
        c. How did you calculate the money owed to you? (Do nOt include court costs or fees for service.) Loss of money
           in the amount of $500 due to false reporting plus additional damages incurred for defamation of name.
        D    Check here ifyou need more space. Attach one sheet ofpaper or Form Me-031 and write "SC~IOO, Item 3" at
             the top.

Revised January 1. 2006                                                                                                        SC-100, Page 2 of 5
                                                     Plaintiffs Claim and ORDER
                                                     to Go to Small Claims Court                                                                ~
                                                                (Small Claims)
  Case 2:10-cv-09875-ODW-SS Document 1 Filed 12/22/10 Page 7 of 10 Page ID #:13



                                                                                          Ie... Numbio SO 2 1 8 3
Plaintiff (list name:,): Romina Movsisyan

o       You must ask the Defendant (in person, in writing, or by phone) to pay you' before you
        sue. Have you done this? 0 Yes 0 No
        Ifno, explain why not: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


-C~)    Why' are you filing your claim at this courthouse?
         This courthouse covers the area (check Ihe one Ihat applies):
         a ..   0   (1) Where the Defendant lives or does business.     (4) Where a contract (written or spoken) was made,
                    (2) Where the Plaintiffs property was damaged.          signed, performed, or broken by the Defendant or
                    (3) Where the Plaintiff was injured.                    where the Defendant lived or did business when
                                                                            the Defendant made the contract.
         b.     0   Where the buyer or lessee signed the contract. lives now, or lived when the contract was made, if this claim
                    is about an offer or contract for personal, family, or household goods, services, or loans. (Code Civ.
                    Proc., § 395(b).)
         c.     0   Where the buyer signed the contract, lives now, or lived when the contract was made, if this claim is about
                    a retail installment contract (like a credit card). (Civil Code, § 1812.10.)
         d.     0   Where the buyer signed the contract, lives now, or lived when the contract was made, or where the vehicle
                    is permanently garaged, if this claim is about a vehicle finance sale. (Civil Code, § 2984.4.)
         e.     0   Other (specify): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


G)      List the zip code of the place checked in                  ® above (ifyou Know):--------------
                                                                                        91206

CD Is your claim about an attorney-client fee dispute? 0 0 No                       'I'
   Ifyes, and ifyou have had arbitration,fill out Form SC-l0l, allach ilto !his/orm, and check here: 0
CD Are you suing a public entity? 0 Yes 0 No
        Ifyes, you must file a wrillen claim with the enlily first. 0 A claim was filed on (date): ____________

o       If the public entity denies your claim or does not answer within the time allowed by law, you can file thisform.
        Have you filed more than 12 other small claims within the last 12 months in California?
        DYes         0    No   lfyes, thefilingfeefor this case will be higher.     ,

@       I understand that by filing a claim in small claims court, I have no right to appeal this claim.
@ I have not filed, and understand that I cannot file, more than two small claims cases for more than $2,500 in
        California during this calendar year.
        I declare, under penalty of perjury under California State law, that the information above and on any attachments to
        this form is true and correct.
        Date: 11/11/10           Romina Movsisyan
                                 Plaintif.(types or prints name here              PlaintifTsigns here
        Date:
                                 Second P/aintif.(types or prints name here
                          Requests for Accommodations
                                                                                  •
                                                                                  Sed:····;:! P/aintif.(signs here


                          Assistive listening systems, computer-assisted, real-time captioning, or sign language interpreter
                          services are available if you ask at least 5 days before the trial. Contact the clerk's office for Form
                          MC·410; Request for Accommodations by Persons With Disabilities and Response. (Civil Code, § 54.8.)
Revised January 1, 200B                                                                                              SC-100, Page 3 of 5
                                                   Plaintiff's Claim and ORDER
                                                   to Go to Small Claims Court                                                       -+
                                                            (Small Claims)
--              Case 2:10-cv-09875-ODW-SS Document 1 Filed 12/22/10 Page 8 of 10 Page ID #:14
     _.      SC~1 'OD                  .,    Information for the Defendant (the person being sued)
     "Small claims court" is a special court where c laims                Do I have options?
     for $5,000 or less are decided. A "natural person" (no t             Yes. If you are being sued, yo u can:
     a business or public entity) may claim up to $7,500,                     Settle your case before the trial. If you and the
     including a sole proprietor The process is quick and                     Plaintiff agree on how to settle the case, bo th ofyo u must
     cheap. The rules are simple and informal.                                notify the court. Ask the Small Claims Advisor for help.
     Yo u are the Defendant-the person being sued .. The                      Prove this is the wrong court. Send a letter to the
     person who is suing you is the Plaintiff.                                co urt before your trial, explainin g why you think this is
                                                                              the wroog co urt. Ask the court to dismiss the claim.
     Do I need a lawyer?
                                                                              You must serve (give) a copy of your letter (by mail or
     You may talk to a lawyer before or after the case But you
                                                                              in person) to all parties . (Your letter to the co urt must
     may no/ have a lawyer represent yo u in court (u nless this
                                                                              say you have done this.)
     is an appe'al from a small claims case).
                                                                              Go to the trial and try to win your case. Bring
      How do I get ready for court?                                           witnesses , receipts, and any evidence yo u need to
      Yo u don't hav e to file any papers before your trial, unless           prove your case. To make sure th e witnesses go to the
      yo u think this is the wrong court for your case. But bring             trial , fill out Form SC-l 07, and the clerk will subpoena
      to yo ur trial any witnesses, receipts, and evidence that               (order) them to go .
           I
      supports your case. And read "Get Ready for Court" at:                   Sue the person Who is suing you. File Form
      IVWW. cour/info. ca.govlseljhelplsmallcll1imslgerready. him              SC-120 , Defendant 's Claim. There are strict filing
                                                                               deadlines you must follow.
      What if I need an accommodation?
      If you have a disab ility or are hearing impaired , fill out             Agree with the Plaintiffs claim and pay the
                                                                               money. Or , if you can't pay the money now, go to
      Fonp MC-41 0, Requestfor Accommodations. Give the
                                                                               your trial and say you waDt to make payments.
      form to your court clerk or the ADAJAccess Coordinator.
                                                                               Let the case "default." If you don't settle and do not
          Wh at if I do n't speak English well?                                go to the trial (default), the judge may give the Plaintiff
      Bring an adult who is not a witness to interpret for you, or             what he or she is asking for plus court costs. If this
      ask the court clerk for an interpreter at least five days befor~         happeos, the Plaintiff can legally take your money ,
      yo ur court date . A court-provided interpreter may not be               wages, and property to pay the judgment.
      available or there may be a fee for using a court interpreter What if I need more time?
      unle ss you qualify for a fee.waiver. You may ask the court You can change the trial date if:
      for a list of interpreters and also the Application/or Waiver    You cannot go to court on th e scheduled date (you will
      of Court Fe es and COS1S (form FW,OO 1) .                        have to pay a fee to postpone the trial) 01'

          Wh ere can 1 get the court forms I need?                             You did not get served (receive this order to go to
          Go to any courthouse or your co unty law library, or print           court) at least 15 days before the trial (or 20 days if you
                                                                               live outside the co un ty) 01'
          forms at: www.courzin/o.ca.govlforms
                                                                               You need more time to get an interpreter. On e
          What happens at the trial?                                           postponement is allowed, and yo u will not have to pay
          The judge wil1listen to both sides. The jud ge may make a            a fee to dela y the trial.
          decision at your trial or mail the decision to you later.
                                                                            Ask the Small Claims Clerk about th e rul es and fe es for
          Wh at if I lose the case?                                         postponing a trial. Or fill out Form SC- IIO (or write a
          If you lose, you can appeal. You'll have to pay a fee.            letter) and mail it to the court Qnd to all other people listed
          (Plaintiffs cannot appeal their own claims.)                      on your cOUI1 papers before the deadline. Enclose a check
                                                                            for your court fees, unless a fee waiver was granted.
              If you were at the trial, file Form SC-140, Notice of
              Appeal. You must file within 30 days after the            f?\Need help?
              Judge's decision.                                           \.VYour county's Small Claims Advisor can help for free .
              If yo u were no t at the trial, fill out and file Form       I                                                     I
              SC-135, Notice of Motion to Vacate Judgmenl and
               Declaration, to ask the judge :to cancel ,the j udgrnent
               (decis ion) If the judge does not give you a new
               trial, you have 10 da ys to appeal the decision . File        Or go to "Co un ty -Specific Court Information" at:
               Form SC-140 .                                                 www. coul'til~ro. ca. govlsel(lJelplsmallclaims
          For more information on appeals, see:
          www.couninfo.ca.govlse(fhelplsmallclaimslappeal.htm
          Ro....,scd J3nuary \ ,2008                                                                                      SC-1   ~O,   Pag e 4 o i 5
                                            Plaintiff's Claim and ORDER to Go       to   Small Claims Court
                                                                   (Small Claims)                                                                ~
         Case 2:10-cv-09875-ODW-SS Document 1 Filed 12/22/10 Page 9 of 10 Page ID #:15
      SC 100               Informacion para el deman'dado (Ia persona demandada)
La "Corte de reclamos menores" es una corte especial         i Tengo otras opciones?                                    , . ..            .
donde se deciden casas por $5,000 a menos. Una "persona Si. Si 10 estan demandando, puede:
natural" (que no sea un negoclo ni una entidad publica)      • Resolver su caso antes del juiclo. Si usted y el
puede reciamar hasta $7,500. EI proc;eso es rapido y barato.    Demandante sa ponen de acuerdo en resolver el casO.
Las reglas son sencillas e informales.                          ambos tienen que notificar a la corte. Pidale al Asesor de
Usted es el Demandado -Ia persona que se esta demand·           Reclamos Menores que 10 ayude.
ando. La persona que 10 esta demandando es el Demandante.. Probar que eS'la corte equivocada. Envie una carta a la
LNecesito un abogado?                                           corte antes del juicioexplicando por que cree que es la
Puede hablar con un abogado antes 0 despues del caso.           corte equivocada. Pidale a la corte que despida ell
Pero no puede tener a un abogado que 10 represente ante         reclamo. Tiene que entregar (dar) una copia de su carta
la corte (a menos que se trate de una apelacion de un caso      (por correo 0 en persona) a todas las partes. (Su carta a la
de reclamos menores).                                           corte tiene que deck que hizo la entrega.)
 LeOmO me preparo para ir a la corte?                   .. :  • Ir al juicio y tratar de ganar el caso. L1eve testigos.
 No tiene que presentar ningunos papeles antes del JUICIO, a    recibos y cualquier prueba que necesite para probar su
 meno's qu e piense que esta es la corte equivocada para su     caso. Para asegurarse que los testigos vayan al juicio.
 caso.:Pero lIeve al juicio cualquier testigos. recibos, y      Ilene el formulario SC.107, Y el secretario emitira una ' ..
 cualqo~er pruebas que apoyan su caso. Y lea "Preparese         orden de comparecencia ordenandoles que se presenten.
 para la corte" en: www.courtinfo.ca.govlse/fhe/p/espanoJ/
 rec/amosmenoresiprepararse.htm                               • Demandar a la persona que·lo demando. Presente el
 L.QUe hago si necesito una adaptacion?                         formulario SC·120, Rec/amo del demandado. Hay fechas
 Si tiene una discapacidad 0 tiene impedimentos de              limite estrictas que debe seguir.
 audiciOn. Ilene el fonnulario MC-41 0, Request for           • Aceptar el reclamo del Demandante y pagar el
 Accomodations. Entregue el formulario al secretario de la       dinero. 0, si no puede pagar en ese momento, vaya al
 corte 0 al Coordinador de Acceso/ADA de su corte.              juicio y diga que quiere hacer los pagos.
LQue pasa si no hablo ingles bien?                                    • No ir al juicio y aceptar el fallo por falta de
Traiga a un adulto que no sea testigo para que Ie sirva de              comparecencia. Si no lI.ega a un acuerdo con el
interprete. 0 pida al secretario de la corte que Ie asigne uno.         Demandante y no va al juicio (fallo por falta de
Si quiere que la-corte Ie asigne un interprete, 10 tiene que            comparecencia). el juez Ie puede otorgar al Dernandante
pedir como minimo menos cinco dias antes de la fecha en                 10 que esla reclamando mas los costos de la corte. En ess
que tenga que ir a la corte. Es posible que no ha'ya disponible         caso, el Demandante legalmente puede tomar su dinero,
un interprete proporcionado por la corte 0 que tenga que                su sueldo 0 sus bienes para cobrar el fallo.
pagar una cuota por ernplear un interprete de la corte, a
menos que tenga una exencion de cuotas. Puede pedir ala               LQue hago si necesito mas tiempo?
corte una !ista de interpret~s y la Solicitud de exencion de          Puede cambiar la fecha del juicio si:
cuotas y costos de la corte (formula rio FW·001).                     • No puede ir a la corte en la fecha programada (tendra que
 LDonde puedo obtener los formularios de la corte                       pagar una cuota para aplazar el juicio) 0
 que neceslto?                                                        • No Ie entregaron los documentos legalmente (no recibiO la
 Vaya a cualquier ediflcio de la corte, la biblioteca legal de          orden para ir a la corte) por 10 menos 15 dias antes del juicio
 su condado 0 imprima los formularios en:                               (620 dias si vive fuera del condado) 0
 www.courtinfo.cB.govlforms
                                                                      • Neceslta mas tiempo para conseguir interprete. (Se permite un
 LQue pasa en el juicio?                                                solo aplazamiento sin tener que pagar cuota para aplazar el
 EI juez escuchara a ambas partes. EI juez puede tomar                  juicio).
 su decision durante la audiencia.o enviarsela por cor reo
 despues.
LQue pasa' sl pierdo el caso?
                                                                                                                      °
                                                                      Preguntele al secreta rio de reclamos menores sobre las
                                                                      reg las y las cuotas para aplazar un juicio. Ilene el
                                                                      formulario SC·110 (0 escriba una carta) y envielo antes del
Si pier de. puede apelar. Tendra que pagar una cuota. (EI             plazo a la corte ya lodas las otras personas que flguran en
Deman dante no puede apelar su propio reclamo.)                       sus papeles de la corte. Adjunte un cheque para pagar los
 • Si estuvo presente en eI JUicio.llene el lormulario SC·14Q,        costos de,la corte, a menos que Ie hayan dado una exencion.
    Aviso de ape/a ciOn. Tiene que presentarlo dentro de 30 dlas
    depues de la decision del juez.
 • Si 'no estuvo en el jUicio. Ilene y presente el formulario
     SC-135. Aviso de petici61lpara anu/ar el fallo y
     Dec/araciOn para pedirle al juez que anule el lallo
                                                                      <V       lNecesita ayuda? EI Asesor de Reclamos
                                                                               Menores de su con dado Ie puede ayudar sin cargo.

     (decision). Si la corte no Ie otorga un nuevo juicio, tiene 10
     dias para apelarla decisiOn. Presente el formula rio
                                                                                    -   ..
     SC-140.
 Para o'btener mas informacion sobre las apelaciones, vea:
 www.courtinfo.ca.go v/selfhe/plespanollrec/am osmenoresi             ° vea "Informacion por con dado" en:
                                                                      www.courtinfo.ca. govlse/fhelplespanolirec/amosmenore s
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                                         Reclamo del Demandante y ORDEN                                            SC-100, Page 5 of 5
                                        Para Ir a la Corte de Reclamos Menores
                                                       (Reclamos Menores)
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SUPERIOR COURT OF CALIFORNIA
COUNTY OF LOS ANGELES                                                                                   c}~-¢3 POsr~
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